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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM



Honorable John A. Mendez
United States District Judge
Sacramento, California

                                            RE:    Charles Robert MANESS
                                                   Docket Number: 2:10CR00223-03
                                                   REQUEST TO CONVERT JUDGMENT &
                                                   SENTENCE TO STATUS CONFERENCE

Your Honor:

Mr. Maness is scheduled for Judgment and Sentencing on July 24, 2012. However, a trial
for a number of his codefendants is scheduled for January 7, 2013. Relevant
recommendations regarding Mr. Maness's sentencing will be more fully determined after
the trial is concluded.

Per agreement with the government and defense counsel, it is respectfully requested that
the Judgment and Sentencing be converted to a status conference. It is anticipated the
parties will later request either another status conference date or a new Judgment and
Sentencing date and disclosure schedule for the presentence report.

                                   Respectfully submitted,


                                     /s/ Hugo Ortiz
                                     HUGO ORTIZ
                       Supervising United States Probation Officer


Dated:          June 27, 2012
                Sacramento, California

cc:      Clerk, United States District Court
         Philip A. Ferrari, Assistant United States Attorney
         Donald H. Heller, Attorney at Law
         Probation Office Calendar Clerk



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 X    Approved         /s/ John A. Mendez                       6/27/2012
                       JOHN A. MENDEZ
                       United States District Judge             Date
      Disapproved




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